                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

DEMOCRACY NORTH CAROLINA, THE
LEAGUE OF WOMEN VOTERS OF
NORTH CAROLINA, DONNA PERMAR,
JOHN P. CLARK, MARGARET B. CATES,
LELIA BENTLEY, REGINA WHITNEY
EDWARDS, ROBERT K. PRIDDY II,
WALTER HUTCHINS, AND SUSAN
SCHAFFER.
                                           Civil Action No. 20-cv-457
        Plaintiffs,
        vs.
THE NORTH CAROLINA STATE BOARD
OF ELECTIONS; DAMON CIRCOSTA, in
his official capacity as CHAIR OF THE
STATE BOARD OF ELECTIONS; STELLA
ANDERSON, in her official capacity as
SECRETARY OF THE STATE BOARD OF
ELECTIONS; KEN RAYMOND, in his
official capacity as MEMBER OF THE
STATE BOARD OF ELECTIONS; JEFF
CARMON III, in his official capacity as
MEMBER OF THE STATE BOARD OF
ELECTIONS; DAVID C. BLACK, in his
official capacity as MEMBER OF THE
STATE BOARD OF ELECTIONS; THE
NORTH CAROLINA DEPARTMENT OF
TRANSPORTATION; J. ERIC BOYETTE,
in his official capacity as
TRANSPORTATION SECRETARY; THE
NORTH CAROLINA DEPARTMENT OF
HEALTH AND HUMAN SERVICES;
MANDY COHEN, in her official capacity as
SECRETARY OF HEALTH AND HUMAN
SERVICES,

        Defendants.

      DECLARATION OF CHRISTOPHER KETCHIE IN SUPPORT OF
        PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

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I, Christopher Ketchie, hereby declare:

       1.     All facts set forth herein are based on my personal knowledge, and if called

upon to testify as to the contents of this Declaration, I could and would do so.

       2.     I am a demographer and data analyst for Southern Coalition for Social

Justice, where I specialize in research, analysis, and spatial visualization of demographic

and electoral data.

       3.     In this matter, I have used public data sets to isolate certain statistics for

reference in the Complaint and the Brief in Support of Plaintiffs’ Motion for Preliminary

Injunction.

       4.     To determine changes in voter registration rates between 2016 and 2020, I

used the NVRA Data (2008 to present) (last updated June 2, 2020), published by the North

Carolina       State       Board        of       Elections      and         available          at

https://s3.amazonaws.com/dl.ncsbe.gov/NVRA/nvra_stats_all.txt.        The     data      file   is

accessible by going to https://www.ncsbe.gov/Public-Records-Data-Info/Election-Results-

Data, and navigating to “FTP Site”  “NVRA”  “nvra_stats_all.txt.” By summing the

“Count” field for total registrations (new, changed, and duplicate) and aggregating by year

and month (using the “NVRA Date” field) for each month in 2016 and 2020, I determined

that January 2020 had a 162% increase in registrations compared to 2016, while February,

March, and April 2020 had changes of -10%, -14%, and -50% compared to the same

months of 2016 respectively.

       5.     To determine the rate of absentee mail-in ballots rejected for the March 2020

North Carolina primary, I used data from the March 3, 2020 Absentee File, published by

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the    North     Carolina     State    Board      of    Elections     and     available     at

https://s3.amazonaws.com/dl.ncsbe.gov/ENRS/2020_03_03/absentee_20200303.zip. This data

file is accessible by going to https://www.ncsbe.gov/Public-Records-Data-Info/Election-

Results-Data and navigating to “FTP Site”  “ENRS”  “2020_03_03” 

“absentee_20200303.zip”. By aggregating absentee mail-in ballots by ballot return status

in the “ballot_rtn_status” field (either accepted or reason for rejection), and dividing those

rejected by the total, I determined that almost 15% (14.6%) of submitted absentee mail-in

ballots were rejected. The statistics generated from the absentee file do not include absentee

by mail ballots that were either requested and not sent to the voter or sent to the voter but

not returned to the State Board of Elections (i.e. those with a null value in the

“ballot_rtn_status” field).

       6.      To determine the percent of voters who cast mail-in absentee ballots in the

2016 general election, I used data from November 8, 2016 History Statistics, published by

the    North     Carolina     State    Board      of    Elections     and     available     at

https://s3.amazonaws.com/dl.ncsbe.gov/ENRS/2016_11_08/history_stats_20161108.zip.

This data file is accessible by going to https://www.ncsbe.gov/Public-Records-Data-

Info/Election-Results-Data and navigating to “FTP Site”  “ENRS”  “2016_11_08” 

“history_stats_20161108.zip”. By aggregating all votes cast by voting method in the

“voting_method_desc” field, and dividing those with the “ABSENTEE BY MAIL”

category by that aggregate, I determined that 4% of voters cast mail-in absentee ballots in

the 2016 general election.

       7.      To determine the percent of precincts in North Carolina that have over 5,000

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voters, I used data from Voter Registration File (Last updated May 30, 2020), published

by   the    North    Carolina    State     Board   of    Elections    and   available   at

https://s3.amazonaws.com/dl.ncsbe.gov/data/ncvoter_Statewide.zip. This data file is

accessible by going to https://www.ncsbe.gov/Public-Records-Data-Info/Election-Results-

Data and navigating to “FTP Site”  “data”  “ncvoter_Statewide.zip”. By aggregating

voters by county and precinct using the “county_desc” and “precinct_abbrv” fields, and

sorting by total voters, I determined that 216 precincts in North Carolina have 5,000 or

more voters.

       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct to the best of my knowledge.


                     Executed this 4th day of June, 2020




                     /s/
                     Christopher Ketchie




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